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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


ENTROPIC COMMUNICATIONS, LLC,

             Plaintiff,
                                                    Case No. 2:22-cv-00125-JRG
      v.
                                                    JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC.,

             Defendant.


                                       ORDER

      Pending before the Court is Plaintiff Entropic Communications, LLC’s Motion for

Summary Judgment of No Invalidity Under 35 U.S.C. §§ 102 and 103. Having considered the

Motion, the Court GRANTS the Motion.
